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UNITED STATES DISTRICT COURT

 

I)ISTRICT oF COLUMB]A
IN RE DoMEsrr(: AIR_LINE TRAVEL MDL 900th NO. 2656
ANTITRUST LlTlGA'noN Mi Sc_ NO, 15_1404 (CKK)
JURY TRIAL DEMANDED

 

This Document Relates To:

ALL CASES.

 

 

ORI)ER PRELIMINARILY APPROVING SETTLEMENT WITH
I)EFENDANT SOUTHWEST AIRLINES CO.

THIS CAUSE came before the Court on Plaintif`fs’ Motion for Prelirninary Approval of
Settlernent With Defendant Southwest Airlines Co., filed December 29, 2017. Plaintiffs have
entered into a settlement agreement, dated December 20, 2017 with Defendant Southwest
Airlines Co. (the “Settlement Agreernent”). The Court, having reviewed the Motion, its
accompanying memorandum the Settlernent Agreernent, and the file, hereby:

ORDERS ANI) AI)JUDGES:

1. Terms used in this Order that are defined in the Settlement Agreernent are, unless
otherwise defined herein, used in this Order as defined in the Settlement Agreement.

Preliminarv Aonroval of Settlernent Agreement

2. The Court finds that the Settlement Agreement with Southwest was entered into at
arm’s-length by highly experienced counsel and is sufficiently fair, reasonable and adequate to
authorize dissemination of notice to the Settlement Class defined below and scheduling of the

Fairness Hearing described below

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Class Certification
3. Pursuant to Rule 23 of the Federal Rules of Civil Procedure and in light of the
proposed Settlement, the Court hereby finds that the prerequisites for a class action have been
met and ceitifies the following class for settlement purposes (the “Settlement Class”);

All persons and entities that purchased air passenger transportation services for
flights within the United States and its territories and the District of Columbia
from Defendants or any predecessor, subsidiary or affiliate thereof, at any time
between July 1, 2011 and December 20, 201’7. Exciuded from the class are
governmental entities, Defendants, any parent, subsidiary or affiliate thereof,
Def`endants’ officers, directors, employees, and immediate families, and any
judges or justices assigned to hear any aspect of this action

4. The Court finds that the certification of the Settlement Class is Warranted in light
of the Settlement Agreernent because (a) the Settlement Class is so numerous that joinder is
impracticabie; (b) Plaintiffs’ claims present common issues and are typical of the Settlement
Class; (c) Plaintiffs and Settlement Class Counsel (detined below) will fairly and adequately
represent the Settlement Class; and (d) common issues predominate over any individual issues
affecting the members of the Settlement Class. The Court further finds that Plaintiff`s’ interests
are aligned with the interests of all other members of the Settlement Class and settlement of this

action on a class basis is superior to other means of resolving this matter

Appointment of Settlement Class Counsel and Settlement Class Representatives
5. The Court hereby appoints Hausfeld LLP and Cotchett Pitre & McCarthy LLP as

Settlement Class Counsel, having determined that the requirements of Rule 23(g) of the Federal
Rules of Civil Procedure are fully satisfied by this appointment
6. Plaintiffs Boston Amateur Basketball Club, Katherine Rose Warnock, Cherokii
Verdozco, Kurnar Patel, Samantha White, Seth Lyons, Howard-Sloan Koller Group lnc.,
Breanna Jackson, Stephanie Jung, Elizabeth Curnming, and Steven Yeninas will serve as Class
Representatives on behalf of the Settlement Ciass.
Notice to Potential Class M`embers

7. Within 45 days of entry of this Order, Settlement Class Counsel shall submit to

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the Court for approval a notice plan for purposes of advising Settlement Class Members, among

other things, of their right to object to the Settlement Agreement, of their right to exclude

themselves from the Settlement Class, the procedure for submitting a request for exclusion, the

time, date, and location of the Faimess Hearing, and their right to appear at the Faimess I-Iearing.
Other Provisions

ll. In the event that the Settlement Agreement is terminated in accordance with its
provisions, the Settlement Agreement and all proceedings had in connection therewith shall be
null and void, except insofar as expressly provided to the contrary in the Settlement Agreement,
and without prejudice to the status quo ante rights of Plaintif`fs, Southwest, and the members of
the Settlement Class.

12. The Court’s certification of the Settlement Class as provided herein is without
prejudice to or waiver of the rights of any Defendant to contest certification of any other class
proposed in these consolidated actions The Couit’s findings in this Order shall have no effect
on the Court’s ruling on any motion to certify any class in this Action and no party may cite or
refer to the Court’s approval of the Settlement Class as persuasive or binding authority with
respect to any motion to certify any such class

13. All case deadlines applicable to Southwest, including discovery deadlines, are
hereby stayed

14. Southwest’s obligation to pay its pro-rata share of the fees of the Special Master

is hereby suspended as of this date.

IT IS SO ORDERED.

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DATED$ "\l/hu.x.a/w¢ 9 ai 9 l g C’£L) K.QQL: \'<QM
l l / COLLEEN KoLLAR-KOTELLY ’
UNITED srArEs DISTRICT JUDGE

